Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 1 of 9      PageID #: 3659



KENJI M. PRICE                  #10523
United States Attorney
District of Hawaii

RONALD G. JOHNSON               #4532
GREGG PARIS YATES               #8225
Assistant United States Attorneys
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Fax:        (808) 541-2958
E-Mail:     Ron.Johnson@usdoj.gov
            Gregg.Yates@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’S RESPONSE TO
                                         )   DEFENDANT’S MOTION TO
    vs.                                  )   RECONSIDER; CERTIFICATE OF
                                         )   SERVICE
ANTHONY T. WILLIAMS,                     )
                                         )
          Defendant.                     )
                                         )

                          UNITED STATES’S RESPONSE TO
                       DEFENDANT’S MOTION TO RECONSIDER

      The government respectfully submits this response to Defendant Anthony T.

Williams’s Motion to Reconsider 11/26/18 EO Denying: Defendant’s Motion to
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 2 of 9         PageID #: 3660



Sever Trial (Docket #365); Defendant’s Motion for Order of Contempt Against the

Illinois Anti-Predatory Lending Database (Docket #349); Defendant’s Motion for

Order of Contempt Against the Orange County (CA) District Attorney’s Office

(Docket #357); Defendant’s Motion for Order of Contempt Against the Broward

County (FL) Sheriff’s Office (Docket #361)” (Motion to Reconsider). The

defendant effectively argues that he has been deprived of a hearing because the

U.S. Marshals Service (Marshals Service) failed to transport him to this Court

within a reasonable time prior to his November 26, 2018 hearing. However, the

defendant waived his hearing when he declined transportation from the Marshals

Service earlier in the day. The motion should be denied.

                                 BACKGROUND

      The Court set a hearing upon a variety of the defendant’s motions for

November 26, 2018, at 2:00 p.m. ECF Nos. 366, 367, 368, and 369.

      The Marshals Service transports inmates who are in the custody of the

Bureau of Prisons from the Federal Detention Center (FDC) to the Court for their

appearances. Declaration of Thomas Decker (Decker Decl.) ¶¶ 1-3. The typical

practice of the Marshals Service is to make a single trip to FDC to pick up all

inmates who are due to appear before the Court on that day. Id. ¶ 3. If there are

multiple inmates scheduled to appear before the Court, the Marshals Service will

pick up all such inmates prior to the earliest hearing scheduled for an inmate. Id.


                                          2
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 3 of 9          PageID #: 3661



If the earliest hearing scheduled for any inmate on a particular day is in the

morning, the Marshals Service will pick up all inmates in the morning prior to the

first scheduled hearing. Id.

      On a typical weekday, the Court sends to FDC a list of names of inmates

who are scheduled to appear before the Court the following day, together with the

time they are to be picked up at FDC. Id. ¶ 2. On the morning of November 26,

2018, the housing unit officer in the housing unit where the defendant was housed

at FDC received the Court list and announced to the housing unit the names of the

inmates who were due at the Receiving and Discharge area that morning for

transport to the Court. Declaration of Sam Gonzalez ¶ 4. At about 7:00 a.m., the

housing unit officer announced the defendant’s name to give him notice of his

court appearance, and the defendant acknowledged the officer. Id.

      At about 8:00 a.m., the housing unit officer approached the defendant to

escort him to the Receiving and Discharge area, and notified him that he needed to

leave for court in thirty minutes. Id. ¶ 5. The defendant declined to come with the

officer, and explained “my court is not at 8:30 a.m. They are going to have me wait

there for several hours because [my hearing is] not going to be until two in the

afternoon.” Id. ¶ 6. The officer then asked the defendant to confirm that he was

refusing to be transported to Court, and the defendant did so. Id. ¶ 7. The officer




                                          3
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 4 of 9          PageID #: 3662



than reported the defendant’s refusal to his supervisor, who informed the Marshals

Service. Id. ¶ 8.

                                   ARGUMENT

I.    Legal Standard

      The Federal Rules of Criminal Procedure do not expressly authorize motions

for reconsideration. However, the Ninth Circuit has approved of motions for

reconsideration in criminal cases. United States v. Martin, 226 F.3d 1042, 1047

n.7 (9th Cir. 2000) (“As the Second Circuit has noted . . . , post-judgment motions

for reconsideration may be filed in criminal cases.”). This Court has recognized

motions for reconsideration in criminal cases are governed by the rules that govern

equivalent motions in civil proceedings. United States v. Hee, 2015 U.S. Dist.

LEXIS 145406 *31 (D. Hawaii 2015).

      Local Rule 60.1 of the Civil Local Rules of Practice for the District of

Hawaii sets forth the standards for reconsideration:

             Motions seeking reconsideration of case-dispositive
             orders shall be governed by Fed. R. Civ. P. 59 or 60, as
             applicable. Motions for reconsideration of interlocutory
             orders may be brought only upon the following grounds:

             (a) Discovery of new material facts not previously
                 available;

             (b) Intervening change in law;

             (c) Manifest error of law or fact.


                                          4
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 5 of 9          PageID #: 3663



The court’s orders denying the defendant’s motions seeking contempt orders

against third-party entities and defendant’s motion to sever the trials of the

defendants in this action are not case-dispositive, and are therefore interlocutory.

      The defendant, however, does not challenge the Court’s orders based upon

any of these cognizable grounds. Rather, the defendant claims that he has been

deprived of a hearing upon his motions because he was not timely transported to

the Court in advance of his November 26, 2018 hearing. Declaration of Anthony

Williams (Williams Decl.) in Support of Motion to Reconsider 1-2, ECF No. 395-2

(“The declarant was never taken to the hearing . . . . The PD office notified the

court of the situation and yet the court went forward with the hearing and denied

the motion without the declarant being present to argue.”).

II.   Defendant Waived His Hearing By Refusing To Be
      Transported To The Courthouse On November 26, 2018

      The defendant’s motion should denied; the defendant was not deprived of a

hearing upon his motions. This Court set a November 26, 2018 hearing date and

the defendant had notice of the hearing. The defendant admits these facts.

Williams Decl. 1. Moreover, the Marshals Service came to the FDC on November

26, 2018 to transport the defendant to the hearing, and the defendant declined. The

defendant also admits these facts. Id. 1-2. Refusal to attend an evidentiary hearing

after notice of the hearing constitutes a waiver of an opportunity for the hearing.

Hoye v. Sullivan, 985 F.2d 990, 991 (9th Cir. 1992) (disability insurance context).

                                           5
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 6 of 9          PageID #: 3664



       The defendant effectively argues that his refusal to accompany the Marshals

Service to Court on November 26, 2018 is not a waiver of his hearing because he

was prepared to be transported later that day. Gonzalez Decl. ¶ 8. As noted by the

FDC housing unit officer, the defendant refused to be transported in the morning

because he did not want to “wait there [in a holding cell at the courthouse] for

several hours.” Id. ¶ 6. However, the defendant, an incarcerated inmate at FDC,

does not have the option for transportation to the Court at any time of his choosing.

Decker Decl. ¶¶ 4-5. The Marshals Service is under no obligation to return later in

the day to transport him closer to the time of his hearing. The defendant’s claim

that, after he refused transport to the Court in the morning, “the lady that declarant

spoke to” at the U.S. Federal Public Defender’s Office “said that the Marshals

should be there to take declarant to the hearing” does not affect his rights in any

way. Williams Decl. ¶ 8.

       In light of the foregoing, the defendant’s decision to refuse transportation to

the courthouse in the morning on November 26, 2018 should be considered a

waiver of his right to a hearing upon his motions.

III.   The Defendant’s Refusal To Appear At Court
       Was Not Result of Mistake Or Excusable Neglect

       Any suggestion that the defendant’s absence from the November 26, 2018

hearing is the result of mistake or excusable neglect should be rejected. The

docket for this matter demonstrates that the defendant is quite familiar with Court

                                           6
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 7 of 9          PageID #: 3665



transportation procedures and that he has demonstrated a willingness to decline to

appear at Court in the past. In part because of his aggressive litigation strategy,

which involved approximately 62 motions to date, the defendant has been called to

appear before this Court eleven times. Before the November 26 hearing, the

defendant had been transported by the Marshals Service from FDC to the Court no

fewer than eight times. ECF Nos. 30, 35, 184, 214, 235, 295, 354, and 385.

Moreover, the defendant has twice refused to be transported by the Marshals

Service to the Court, and therefore, declined to appear before the Court. ECF Nos.

7, 194. The defendant’s refusal to be transported to his hearing on November 26,

2018 was his third refusal, and it was no mistake.

      In any event, even if the defendant believed that he should not have to “wait

there [in a holding cell at the courthouse] for several hours,” and that the Marshals

Service should have returned to transport him to the Court at his demand at a time

closer to his hearing, this belief was not reasonable. The defendant is in pretrial

detention in the custody of the Bureau of Prisons and subject to the restrictions

upon his liberty at the FDC. His refusal to appear at his hearing on November 26,

2018 should not be excused. Thus, the defendant waived his opportunity for a

hearing on his motions on November 26, 2018.




                                          7
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 8 of 9        PageID #: 3666



      In light of the foregoing, the government respectfully opposes the

Defendant’s Motion to Reconsider.

            DATED: January 10, 2019, at Honolulu, Hawaii.

                                             KENJI M. PRICE
                                             United States Attorney
                                             District of Hawaii


                                             By /s/ Gregg Paris Yates
                                               GREGG PARIS YATES
                                               Assistant U.S. Attorney




                                        8
Case 1:17-cr-00101-LEK Document 408 Filed 01/10/19 Page 9 of 9        PageID #: 3667



                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

To be served via First Class Mail on or by January 15, 2019:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: January 10, 2019, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
